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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        601 D Street, N.W.
                                                        Washington, D.C. 20530

                                                       August 17, 2023

Mr. John M. Pierce
21550 Oxnard Street
Woodland Hills, CA 91367
jpierce@johnpiercelaw.com

       Re:     United States v. Richard Slaughter and Caden Paul Gottfried
               Case No. 1:22-cr-354-RCL

Dear Mr. Pierce:

        I have completed my second supplemental disclosure of discovery material and have
uploaded to USAfx. Please let me know if you have any trouble accessing the folders. Please
note that the contents of the folder will be cleared automatically after 60 days, so download all
materials uploaded to a separate drive.

       The discovery contains five folders and a total of 1.85 gigabytes of material:




                                                                                        GOVERNMENT
                                                                                          EXHIBIT
                                                                                             5
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       In summary, this production contains the following:

   •   Clips of Body Worn Camera (BWC) footage from MPD Officers Mustafa Ak and
       Abdulakadir Abdi;
   •   CCTV footage from Camera 0074 (with timestamps) from approximately 3:30 pm to
       4:15 pm;
   •   All FBI Serials since the government’s last production;
   •   The results of an “outdoor trace” of Slaughter and Gottfried with links to additional open-
       source footage;
   •   The Government’s Sentencing Memorandum in U.S. v. Cody Mattice (1:21-cr-657-1
       (BAH)) with reference on pages 19-21 to Mattice being handed a canister of spray from
       another rioter (who we believe to be Mr. Slaughter); and
   •   PDF copies of the scoped Cellbrite Extraction Reports containing images, videos, and
       text messages recovered from Mr. Slaughter’s cell phone.

        Some of this material being provided is subject to the terms of the Protective Order
issued in this case. Please consult the both the discovery log provided with this production and
the Protective Order if you have any questions about the designations and how it may affect your
discovery obligations. I have noted the files designated as sensitive / highly sensitive on the
production log.

        Because you have been unable to open the full Cellbrite report and .exe file containing
Mr. Slaughter’s scoped phone download, I have generated the PDF reports of all the material
within the file and am providing to you here. If you would like access to the Cellbrite file in
native format, please let me know and I will be happy to make arrangements with the FBI for
you to view both the scoped and un-scoped phone download.

         Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government has developed a system that will
facilitate access to these materials (commonly referred to as “global discovery”). You should
have received a letter referencing the government’s global discovery disclosures to date. In the
meantime, please let me know if there are any categories of information that you believe are
particularly relevant to your client.

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will continue to provide timely disclosure if any such
material comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide
information about government witnesses prior to trial and in compliance with the court’s trial
management order.



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        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

       Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. According to the Pretrial
Scheduling Order we both proposed and adopted by the Court (see ECF Nos. 49 and the July 7,
2023 Minute Order), such notice is due no later than August 25, 2023.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.


                                                     Sincerely,



                                                     Stephen J. Rancourt
                                                     Assistant United States Attorney


CC: AUSA Katherine Boyles




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